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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA                :
                                             :
                v.                           :
                                             :
     THOMAS ROBERTSON and                    :        Crim. No. 21-cr-00034 (CRC)
                                             :
     JACOB FRACKER,                          :
                                             :
                         Defendants.         :

                                       Government Exhibits


                     PHYSICAL EVIDENCE AND RELATED MATERIALS


No.              Description                Witness             Admitted?                Date


 1        Wooden Stick                                                                    N/A

          Photo of Wooden Stick
 2                                                                                  January 19, 2021
          with Backpack

                                 100 SERIES – SOCIAL MEDIA


No.              Description                Witness             Admitted?                Date


100       Robertson’s Facebook                                                          Multiple
          Account


100A      “A legitimate republic
          stands on four boxes…”
                                                                                    November 7, 2021
          (page 78 of Robertson’s
          Facebook Account)




                                                 1
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100B   “Not at all. Civility has
       Left me…” (page 1587 of
                                                                 December 19, 2021
       Robertson’s Facebook
       Account)


100C    “CNN and Let are just
       mad because we actually
       attacked the
       government…” (pages                                        January 8, 2021
       1596 and 1597 of
       Robertson’s Facebook
       Account)


101    Fracker’s Facebook
                                                                        Multiple
       Account

       “Don’t share these. Just
101A   thought you should know
       there’s hitters out here
       trying to make a fucking                                   January 7, 2021
       difference at any cost.”
       (page 199 of Fracker’s
       Facebook Account)

101B   “…[T]hings are gonna get
       spicy.” (page 1665 of
                                                                  January 6, 2021
       Fracker’s Facebook
       Account)


101C   Video from Fracker’s                                       January 6, 2021
       Facebook Account


101D   “Don’t worry boys, we                                            Multiple
       holding it down.” (pages
       462 through 473 of
       Fracker’s Facebook
       Account)


101E   “Lol to anyone who’s                                       January 10, 2021
       possible concerned about
       the picture of me going
       around…” (page 96 of


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       Fracker’s Facebook
       Account)


102    Robertson’s AR-15.Com                                            Multiple
       Account


102A   “Capitol Steps from when
       we…not Antifa. Stormed                                    January 6, 2021, and
       it.” (AR-15, Post Data                                      January 7, 2021
       Archived, Row 101)


102B   Photo from “Stormed it”                                   January 6, 2021, and
       AR-15 Post                                                  January 7, 2021


103    Selfie-Styled Photo in
                                                                   January 6, 2021
       front of John Stark Statute


104    Twitter Video available at
       https://twitter.com/phoeni
                                                                   January 6, 2021
       xonwheels/status/1478171
       707047174144


               200 SERIES – BODY WORN CAMERA VIDEO FOOTAGE


No.           Description            Witness      Admitted?              Date


200    MPD Officer Wilhoit
       Body Worn (BWC)                                             January 6, 2021
       Camera Video Footage


200A   Wilhoit BWC Screenshot
                                                                   January 6, 2021
       (14:03:59)


200B   Wilhoit BWC Screenshot
                                                                   January 6, 2021
       (14:04:01)




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200C   Wilhoit BWC Screenshot
                                                                  January 6, 2021
       (14:04:02)


200D   Wilhoit BWC Screenshot
                                                                  January 6, 2021
       (14:04:03)


201    MPD Officer Hodges
       Body Worn Camera                                           January 6, 2021
       (BWC) Video Footage


201A   Hodges BWC Screenshot
                                                                  January 6, 2021
       (14:03:26)


201B   Hodges BWC Screenshot
                                                                  January 6, 2021
       (14:03:55)


201C   Hodges BWC Screenshot
                                                                  January 6, 2021
       (14:03:56)


201D   Hodges BWC Screenshot
                                                                  January 6, 2021
       (14:03:57)


201E   Hodges BWC Screenshot
                                                                  January 6, 2021
       (14:03:57)


202    MPD Officer Duckett
       Body Worn Camera                                           January 6, 2021
       (BWC) Video Footage


202A   Duckett BWC Screenshot
                                                                  January 6, 2021
       (14:03:29)


202B   Duckett BWC Screenshot
                                                                  January 6, 2021
       (14:03:37)




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202C   Duckett BWC Screenshot
                                                                  January 6, 2021
       (14:03:59)


202D   Duckett BWC Screenshot
                                                                  January 6, 2021
       (14:04:02)


202E   Duckett BWC Screenshot
                                                                  January 6, 2021
       (14:04:03)


                     300 SERIES – DOCUMENTS AND RECORDS


No.           Description           Witness       Admitted?              Date


300    Mayor Bowser Curfew
       Order (Mayor’s Order                                       January 6, 2021
       2021-002)


301    Vice President Harris
                                                                  January 5, 2021
       Notification Email Chain


302    Head of State Notification
                                                                  January 5, 2021
       Emails


303    United States Secret
       Service Agency Head of                                     January 6, 2021
       State Worksheet


304    Robertson Personnel
       Records from Rocky
                                                                        Multiple
       Mount Police Department
       (Selections)


305    Fracker Personnel Records
       from Rocky Mount Police                                          Multiple
       Department (Selections)




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306   Robertson’s BB&T Bank                                         January 12, 2021,
      Statements                                                  through May 12, 2021


307   Content from Thomas
                                                                        Multiple
      Robertson’s cell phone


308   Jail Calls                                                        Multiple


                   400 SERIES – OFFICIAL U.S.C.P. VIDEO FOOTAGE


No.   Description                    Witness         Admitted?           Date


400   United States Capitol
      Police USCH Video Crypt                                       January 6, 2021
      North


401   United States Capitol
      Police USCH Video Crypt                                       January 6, 2021
      South


402   United States Capitol
      Police USCH Senate Wing
                                                                    January 6, 2021
      Door near S139 1-
      06_14h12min


403   United States Capitol
      Police USCH Senate Wing
                                                                    January 6, 2021
      Door near S139 1-
      06_14h36min


404   Compilation video of riot
      footage from United States
                                                                    January 6, 2021
      Capitol Police surveillance
      system




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                      500 SERIES – LEGAL AND CONGRESSIONAL RECORDS


    No.        Description                Witness         Admitted?             Date


    500        U.S. Constitution – 12th
                                                                                N/A
               Amd.


   501.15      3 U.S. Code § 15                                                 N/A


   501.16      3 U.S. Code § 16                                                 N/A


   501.17      3 U.S. Code § 17                                                 N/A


   501.18      3 U.S. Code § 18                                                 N/A


    502        Congressional Record –
                                                                          January 6, 2021
               Senate


    503        Congressional Record –
                                                                          January 6, 2021
               House


    504        Senate Concurrent
               Resolution 1 (Jan. 3,                                      January 3, 2021
               2021)


505A through   Screenshots from Senate
   505F        Chamber Video at
                                                                          January 6, 2021
               1:39pm, 1:48pm, 1:54pm,
               2:00pm, 2:05pm, 2:10pm


506A through   Screenshots from House
   506G        Chamber Video at
               1:43pm, 1:48pm, 1:54pm,                                    January 6, 2021
               1:59pm, 2:04pm, 2:10pm,
               2:14pm




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507    Video Montage –
       including Congressional
       Record (vol. 167, No. 4) at
       S13, S14, S18, H75, H76,                                       January 6, 2021
       H84, H85 and video
       footage from House and
       Senate Chamber videos


508    Declaration of Diego
       Torres


                                     600 SERIES – OTHER


No.           Description                 Witness         Admitted?        Date


600A   Master Photo of U.S.
       Capitol – Interior Floor                                            N/A
       Plan


600B   Master Photo of U.S.
                                                                           N/A
       Capitol -Exterior


601    U.S. Capitol photo                                                  N/A


601A   U.S. Capitol photo with
                                                                      January 6, 2021
       perimeter


601B   U.S. Capitol photo with
                                                                      January 6, 2021
       signs


601C   Sign on rack                                                   January 6, 2021


601D   Sign                                                           January 6, 2021


602    U.S. Capitol diagram                                                N/A




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  603       3D Model of U.S. Capitol                                         N/A


  603A      3D Model of U.S. Capitol
                                                                             N/A
            (Facing West)


  604       Photo from Lower West                                      January 6, 2021
            Terrace


  605       MPD Radio Runs                                             January 6, 2021


  606       MPD Radio Run                                              January 6, 2021
            Transcripts


                                  700 SERIES – CERTIFICATIONS


Admitted?          Description              Witness        Admitted?         Date


  701       AR-15 Records
            Certification of                                            March 3, 2022
            Authenticity


  702       Facebook Certificate of
            Authenticity (Fracker’s                                    January 15, 2021
            Account)


  703       Facebook Certificate of
            Authenticity (Robertson’s                                  January 15, 2021
            Account)


  704       Rocky Mount Police
            Department Records                                         January 19, 2021
            Certificate of Authenticity


  705       Truist Certificate of
            Authenticity (Robertson                                     August 2, 2021
            BB&T Bank Records)




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                                  800 SERIES –MASTER EXHIBIT


Admitted?         Description               Witness        Admitted?          Date


  800            Master Exhibit                                               N/A


                        900 SERIES – ADDITIONAL VIDEO FOOTAGE


Admitted?         Description               Witness        Admitted?          Date


  900       CDU-42 Near Scaffolding                                     January 6, 2021


  901       “Insurgence” YouTube
                                                                        January 6, 2021
            video


                                  1000 SERIES – STIPULATIONS


Admitted?         Description               Witness        Admitted?          Date


  1000               N/A                                                      N/A




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